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                                       STATE OF NEW YORK
                                OFFICE OF THE ATTORNEY GENERAL

  LETITIA JAMES                                                               JANE M. AZIA
ATTORNEY GENERAL                                                              BUREAU CHIEF
                                                                      CONSUMER FRAUDS & PROTECTION BUREAU


                                            April 29, 2025

  By ECF

  The Honorable John G. Koeltl
  United State District Judge, Southern District of New York
  Daniel Patrick Moynihan United State Courthouse
  500 Pearl St., Courtroom 14A
  New York, NY 10007

           DailyPay, LLC v. Attorney General Letitia James, No. 25 Civ. 2849 (S.D.N.Y.)
           People of the State of New York v. DailyPay, Inc., No. 25 Civ. 3439 (S.D.N.Y.)

  Dear Judge Koeltl:

                 We write jointly on behalf of all parties in the above-captioned actions, which have
  been related by the Court, and under Paragraph I.C of Your Honor’s Individual Practices to
  respectfully request an adjournment of the time to move, answer, or otherwise respond to the
  Complaint or Petition in each of the above-captioned actions. The New York State Office of the
  Attorney General (“OAG”) intends to move to remand the action captioned People of the State of
  New York v. DailyPay, Inc. Because of the overlap of substantive issues involved in the two above-
  captioned actions, the parties request that the responsive pleading deadline in both actions follow
  the same schedule and be adjourned until after the Court has ruled on the OAG’s forthcoming
  motion for remand. Such an adjournment would promote efficiency and conserve judicial
  resources and the resources of the parties. The original deadline for the OAG to move, answer, or
  otherwise respond to the Complaint in DailyPay, LLC v. James is May 1, 2025. The original
  deadline for DailyPay, Inc. to move, answer, or otherwise respond to the Petition in People of the
  State of New York v. DailyPay, Inc. is May 6, 2025. This is the parties’ first request for an
  adjournment.
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                                                     Respectfully submitted,

By:   /s/ Marcus A. Asner                           By:      /s/ Christopher L. Filburn
      Marcus A. Asner                                        Christopher L. Filburn
      Yiqing Shi                                             Assistant Attorney General
      250 W. 55th Street                                     Bureau of Consumer Frauds &
      New York, NY 10019-9710
      Tel: 212.836.8000                                      Protection
      Fax: 212.836.8689                                      28 Liberty Street, 20th Floor
      marcus.asner@arnoldporter.com                          New York, New York 10005
      yiqing.shi@arnoldporter.com                            Tel.: 212.416.8303
                                                             Email:
      Meredith Osborn (pro hac vice to be                    christopher.filburn@ag.ny.gov
      filed)
      Three Embarcadero Center 10th
      Floor                                                  Attorney for Defendant Attorney
      San Francisco, CA 94111-4024                           General Letitia James and
      Tel: 415.471.3140                                      Petitioner People of the State of
      meredith.osborn@arnoldporter.c                         New York
      om

      ARNOLD PORTER KAYE &
      SCHOLER LLP

      Loretta E. Lynch
      Yahonnes Cleary
      1285 Avenue of the Americas
      New York, NY 10019
      Tel: 212.373.3000
      lelynch@paulweiss.com
      ycleary@paulweiss.com

      PAUL, WEISS, RIFKIND,
      WHARTON & GARRISON LLP


      Attorneys for Plaintiff and
      Respondent DailyPay, LLC,
      formerly doing business as
      DailyPay, Inc.




      28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8300 ● FAX (212) 416-6003 ● WWW.AG.NY.GOV
